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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
                                   )     CRIMINAL ACTION NO.
    v.                             )        2:11cr191-MHT
                                   )             (WO)
WILLIE CHARLES TOWNSEND            )

                        OPINION AND ORDER

    This cause is before the court on the motion to

continue, filed by defendant Willie Charles Townsend on

January 17, 2012.       This case is currently set for trial

on April 16, 2012.       For the reasons set forth below, the

court finds that the trial should be continued until May

7, 2012, pursuant to 18 U.S.C. § 3161(h)(7)(A).

    While the granting of a continuance is left to the

sound discretion of the trial judge, see United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act.

The Act provides, in part, as follows:

          “In any case in which a plea of not
          guilty is entered, the trial of a
          defendant charged in an information or
          indictment with the commission of an
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          offense shall commence within seventy
          days from the filing date (and making
          public)    of   the    information    or
          indictment, or from the date the
          defendant has appeared before a judicial
          officer of the court in which such
          charge is pending, whichever date last
          occurs.”

18 U.S.C. § 3161(c)(1).         However, the Act excludes from

the 70-day period any continuance based on “findings that

the ends of justice served by taking such action outweigh

the best interest of the public and the defendant in a

speedy trial.”     Id. § 3161(h)(7)(A).           In granting such a

continuance, the court may consider, among other factors,

whether the failure to grant the continuance “would deny

counsel   for   the    defendant       or   the   attorney    for       the

Government the reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence.”     Id. § 3161(h)(7)(B)(iv).

    This court finds that the ends of justice served by

continuing this trial outweigh the best interest of the

public and Townsend in a speedy trial.                   New defense

counsel has been retained and it will take him additional

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time to familiarize himself with the voluminous discovery

already produced in this case.                Without a continuance,

defense counsel will have insufficient opportunity to

determine       what    defenses,      if    any,    are   available        to

Townsend and to develop a strategy for trial.                    The need

for     adequate     representation         therefore      outweighs       any

interest in a speedy trial.



                                    ***

       Accordingly, it is ORDERED that defendant Willie

Charles Townsend’s motion to continue (doc. no. 141) is

granted      and   that    his    trial     and     jury   selection       are

continued to the criminal term of court beginning on May

7, 2012, at 10:00 a.m., in Montgomery, Alabama.

       DONE, this the 19th day of January, 2012.

                                 /s/ Myron H. Thompson
                              UNITED STATES DISTRICT JUDGE
